FILED: MONROE COUNTY CLERK 07/31/2020 01:16 PM                                                                                                         INDEX NO. E2020001926
                 Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                       1 of 32
                                                                     RECEIVED  NYSCEF: 07/31/2020
                   MONROE            COUNTY          CLERK'S       OFFICE                               THIS        IS NOT A BILL.           THIS   IS YOUR   RECEIPT.



                                                                                              Receipt        # 2451034


                                                                                              Book           Page        C1VIL


   Return    To:                                                                              No. Pages:            32
   EDWARD          ARVIN        TREVVETT
                                                                                              Ir. drser±:           EXHIBIT(S)


                                                                                              Control        #:               202007310529

                                                                                              Index     #:                    E2020001926


                                                                                              Date:     07/31/2020


    Town     of Alma                                                                          Time:     1:21:09          PM




    The Infa-=6--1            AssóciatiGn       of Machitist      and Aerospace
   Workers     Local     1580




   Total    Fees Paid:                                                                $0.00


                                                                                              Employee:




    State of New       York


   MONROE          COUNTY          CLEFX'S          OFFICE
   WARNING          - THIS       SHEET       CONSTITUTES               THE   CLEFXS
   ENDORSEMENT,    REQUIRED                        BY SECTION        317-a(5) &
   SECTION  319 OF THE REAL                      PROPERTY          LAW OF THE
    STATE     OF NEW YORK.                DO NOT DETACH                OR REMOVE.

                                      JAMIE       ROMEO

                              MONROE         COUNTY            CLERK


      ||lljijjijiiil:|ehiiiilliiill!!!|||||| ;;;:||||,|ii!!F
      !"!!!!im!:|si!!!!!!!l11111111111i
      Hhr.m.i..n.mm mm..,n................. ..             .
 202007310529                                                                 Index #
                                                                            INDEX     : E2020001926
                                                                                    NO.    E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                 Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                       2 of 32
                                                                     RECEIVED  NYSCEF: 07/31/2020




           EXHIBIT                                           B
 202007310529                                                                                                                                                        Index NO.
                                                                                                                                                                   INDEX   #: E2020001926
                                                                                                                                                                                 E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                 Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                       3 of 32
                                                                     RECEIVED  NYSCEF: 07/31/2020


   Angela             Clarke


   From:                                                    Edward      A. Trevvett
   Sent:                                                   Thursday,       July 2, 2020       1:50        PM
   To:                                                     WhitneyRI@alleganyco.com
   Cc:                                                      KnappCM@alleganyco.com;                        ronald     staedt;   Edward       A. Trevvett;       David      Brautigam
   Subject:                                                Town       of Alma
   Attachments:                                            2020-02-01         Opinion        and   Award          (Trask)   (4822-4756-1395           1).pdf;     E2020001926
                                                           _Town_of_Alma_v_Town_of_Alma_DECISION_ORDER_ON_24                                                 (1) (4811-3089-3249
                                                            1).pdf;    2020-07-01       Letter     to Sheriff         Whitney     (4850-7779-2449               1).docx


   Importance:                                              High


   Tracking:                                               Recipient                                                              Delivery

                                                           WhitneyRI@alleganyco.com

                                                           KnappCM@alleganyco.com

                                                           ronald staedt

                                                           Edward A. Trewett                                                      Delivered: 7/2/2020       1:50 PM

                                                           David Brautigam




   Sheriff      Whitney,


   I am       one      of    the   attorneys        representing        the     Town     of    Alma.             Attached       is my     letter   requesting             that   you   assist   the
   Town        with         a trespass    matter.        On behalf        of the      Town       we       look    forward       to your      assistance         in this     matter.




   Edward             A.     Trevvett
   Partner



   HARRIS                  BEACH         PLLC

   ATTORNEYS AT LAW
   99 Garnsey Road
   Pittsford, NY 14534
   585.419.8643    Direct
   585.419.8801    Fax
   585.419.8800    Main

   Buffalo Office
   726 Exchange Street, Suite 1000
   Buffalo, NY 14210
   716.200.5050   Main
   716.200.5090   Fax

   Uniondale Office
   333 Earle Ovington Blvd, Suite 901
   Uniondale, NY 11553
   516.880.8484    Main
   516.880.8483    Fax
   Website    | Bio     Add to Contacts
   NYMUNiBLOG


   pra      etice       G RE E N
   Save a tree. Read, don't print, emails.




                                                                                                      1
 202007310529                                                                                                                                                                                                                 Index#:E2020001926
                                                                                                                                                                                                                            INDEX    NO. E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                 Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                       4 of 32
                                                                     RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                           HARRIS                              BEACH              e
                                                                                                                                                                                                           ATTORNEYS                      AT        LAW


          July         2, 2020                                                                                                                                                                             99 GARNSEYROAD
                                                                                                                                                                                                           PITTSFORD,NY 14534
                                                                                                                                                                                                           (585) 419-8800

                                                                                                                                                                                                            EDWARD A. TREVVETT

                                                                                                                                                                                                            DIRECT:              (585) 4I9- 8643
          Via       Email                                                                                                                                                                                   FAX:                 (585) 419-88I7
                                       (WhitneyRl@alleganyco.com)
                                                                                                                                                                                                                                 @HARRISBEACH.COM


          Sheriff            Ricky            L.    Whitney
          4884          State          Route             19S

          Belmont,                New           York            14813-9506


          RE:                Town             of Alma


          Sheriff            Whitney:


                             I represent                  the        Town            of     Alma           with       respect             to matters                 concerning                    Brian          Trask.               The          Alma
          Town           Board            terminated                        Mr.         Trask's           employment                      during           his       probationary                       period              on    January                25,
          2019.              After            that         date             the      Town               Supervisor                  informed                 both            Mr.         Trask            and           Town             Highway
          Superintendent                           Dan          Ford          that        Mr.      Trask           was        not        a Town             employee                     and      that      he         was        not        to     be on
          Town            property                 or     do         any          work       for         the      Town.             Mr.        Trask            was          informed                that         if     he      continued                  to

          come           onto           Town             property                  he     would            be      considered                  a trespasser.                       Mr.         Trask             and        Mr.         Ford          both
          refused            to        recognize                that         Mr.         Trask           was       terminated                  and        Mr.        Ford          continued                to         permit           Mr.         Trask
          to work             for       him        at the            Town's               Highway                 Department.


                             A      union               representing                      Mr.           Trask        filed          a     grievance.                    Arbitrator                   Jeffrey                Selchick,                 Esq.

          rendered                an      Opinion                and          Award               denying             the          Trask           termination                 grievance                    (a     copy           of      which              is
          attached               for     your           reference).                      On pages                19-20        of        his    Award,             Arbitrator                   Selchick                 specifically                  held
          that      per       the        collective                  bargaining                   agreement                  the     Town               Board          had         the     sole          authority                to     terminate
          Mr.       Trask              during           his     probationary                       period,           and         that         Town         Highway                  Superintendent                            Dan        Ford            had
          no     authority                 to      prevent                  the      Town           from           terminating                     Mr.      Trask             during              his     probationary                            period.

          Subsequent                     to        that         Award                the        Town              Supervisor                   asked            your         department                      to         have           Mr.          Trask
          removed                 from          Town             property                 as a trespasser.                         You         refused            to    do         so,    stating           that          you          could         only
          act     if     Arbitrator                    Selchick's                   Award               was       confirmed                   by        a court.             While             the       Town               disagreed                 with

          your          position                that       the         Award               was           not      enforceable,                     it    nevertheless                     filed          a petition                 in       court          to
          confirm             Arbitrator                  Selchick's                     Award            as you          insisted             must         be done.


                             On June                30,       2020,               Monroe            County             Supreme                  Court           Justice            Ann          Marie             Taddeo               confirmed
          Arbitrator                   Selchick's                    Arbitration                  Award.              The          Town             Supervisor                 met         with           you          on     July           1, 2020,
          and          provided               you         with              a copy           of         Justice        Taddeo's                    Decision              and         Order              confirming                      Arbitrator

          Selchick's                   Award              (also             attached              for      your       reference).                       Judge          Taddeo's                   Decision                  and        Order             was
          entered            and         served            on        Mr.          Trask's          attorney            on        July         1, 2020           as well.


                             There            seems             to     be some               confusion                as to         what           Town           Supervisor                    Staedt            was         asking               you      to
          do.          You        indicated                to        the      Town              Supervisor                that       he       needed            to     provide             you          with           3 original                  copies
          with         a seal           and        a check                  for      $38.          The          Court's            Order            is not        an     execution                      document                  that        you        are

          being           asked            to       serve              or         enforce.                Rather,            as      stated              above,          Judge              Taddeo's                     Order           confirms
          Arbitrator                   Selchick's                    Arbitration                   Award            stating             in     part        that        the     Town               lawfully                terminated                     Mr.
 202007310529                                                                                                                                                                                                        Index#:E2020001926
                                                                                                                                                                                                                   INDEX    NO. E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                 Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                       5 of 32
                                                                     RECEIVED  NYSCEF: 07/31/2020
          Sheriff          Ricky           L.    Whitney                                                                                                                                           HARRIS                         BEACH            e

          July      2, 2020                                                                                                                                                                        ATTORNEYS                    AT      LAW
          Page       2




          Trask          on       January               25,         2019.            At       this         point        there          can         be     no         argument                   that        Mr.         Trask          is    not

          trespassing                when           he continues                     to come              to work            for      Mr.      Ford         at the          Towns               Highway                 Department.

          As     Judge            Taddeo               observed                in    her      Order,             the   Town               is mindful             of        the    possible                  liability          from         Mr.

          Trask's          continued                   disregard               of    the      Arbitrator's               Award.


                          On         behalf            of     the        Town           of    Alma             I request              that      you         forthwith                    take          whatever                steps         are

          necessary               to     have           Mr.         Trask            removed                  from      Town                property             as a trespasser                            and         prevent             him

          from           coming               onto          Town               property                  to      perform               any         work              for      Mr.          Ford              in    the         Highway
          Department                     or     operate                  any        Town           machinery                  or     vehicles.


                           Lastly,            and       with        all     due       respect,             I need        to        notify       you        on        behalf         of     the         Town          that       I am        also

          placing             you,         your          department,                       and       the         Allegany                 County            on        notice             that          if    you         do     not         take

          immediate                  steps        to    see         to    it that          Mr.       Trask           ceases          trespassing                 on        Town           property,                the        Town          will

          hold       you       jointly          and         severally                liable         in     the       event         that      Mr.        Trask          does         anything                 while          continuing
          to work           for      Mr.        Ford          in the           Town's            Highway               Department                   that        would            cause           the        Town         to be sued.




                                                                                                                                       Very         truly        yours,


                                                                                                                                          HARRIS               BEACH                PLLC




                                                                                                                                          s/Edward              A.     Trevvett




          Cc:       County            Administrator                       Carissa             M.     Knapp
                          (KnappCM@alleganyco.com)
                    Ron        Staedt,          Town            Supervisor
                    David          Brautigam,                  Town              Attorney
 202007310529                                                                                                                                       Index NO.
                                                                                                                                                  INDEX   #: E202000i926
                                                                                                                                                                E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
NYSCEF
   FILED: DOC. NO.
                    Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
                   29                                                       6 of
                                                                        RECEIVED 32
                                                                              INDEX  NO.
                                                                                  NYSCEF:E2020001926
                                                                                           07/31/2020
               MONROE    COUNTY    CLERK  0-77017 2-0-2-0-0F-4 4 Ae4
  NYSCEF   DOC.       NO.         24                                                                                                    RECEIVED        NYSCEF:     O6/30/2020

                      MONROE           COUNTY        CLERK'S     OFFICE                              THIS      IS NOTA       BILL.     THIS   IS YOUR    RECEIPT.



                                                                                           Receipt        # 2425979


                                                                                           Book       Page          CIVIL


      Return    To:                                                                        No. Pages:          4
      Donald    Scardino
      99 Exchange          Blyd                                                            Instrument:         ORDER
      Rochester,      NY     14614
                                                                                           Control        #·
                                                                                                                        902007010116
                                                                                           Index     #:                 E2020001926


                                                                                           Date: 07/01/2020


       Town     of Alma                                                                    Time:     8:43:42       AM




       The International          Association    of Machinist   and Aerospace
      Workers      Local     1580




      Total Fees Paid:                                                          $0.00


                                                                                           Employee:           CW




      State ofNew      York


      MONROE          COUNTY   CLERK'S OFFICE
      WARNING          - THIS SHEET CONSTITUTES                    THE CLERKS
      ENDORSEMENT,    REQUIRED  BY SECTION317-a(5) &
      SECTION  319 OF THE REAL PROPERTY   LAW OF THE
      STATE OF NEW YORK.    DONOT DETACH    OR REMOVE.


                                         JAMIE    ROMEO


                                  MONROE        COUNTY     CLERK




                                                                                    1 of     4
 202007310529 MONROE COUNTY CLERK 07/31/2020 01:16 PM                                                                                                                                           INDEX   #: E2020GG1926
                                                                                                                                                                                                  Index NO.   E2020001926
FILED:
                 Case 1:20-cv-01111-UNA
NYSCEF DOC. NO. 29                                                                       Document 1-7 Filed 08/19/20
                                                                                                             A
                                                                                                                     Page 7 of
                                                                                                                      RECEIVED 32
                                                                                                                            n odex #oE2020099110B192
                                                                                                                                NYSCEF:    07/31/20206
                  OE COUNTY     CLERK  07                                                 /01(2020                              08       : 4 4

  NYSCEF   DOC.   NO.   24                                                                                                                                                   RECEIVED                 NYSCEF:                06/30/202   O




                             SUPREME                 COURT               OF THE                STATE              OF NEW                 YORK
                             COUNTY              OF MONROE


                         TOWN               OF ALMA
                                                                                           Petitioner                                                            Index      No           E2020001926
                                                                                                                                                                 DECISION                AND          ORDER




                         THE          INTERNATIONAL                                ASSOCIATION                             OF
                         MACHINIST                         and     AEROSPACE                        WORKERS
                         LOCAL               1580
                                                                                           Respondent.




                                                            Hon.      Ann         Marie         Taddeo,                JSC,




                                          Upon         a Petition               to Confirm              Arbitration,                 an Affirmation                   in Support                by Edward      A.
                                                                                                                                                                                                   Defendants'
                         Trevvett,             Esq.,        a Memorandum                        of Law            in     Support           by     Mr.        T evvett;           and     upon
                         Motion             to Dismiss,               an Affirmation                    in Support                 of the        Motion            by Michael             T. Harren,                Esq.,        A
                         Memorandum                         of Law         in    Support           of the           Motion           by Mr.            Harren;        and        upon        an Affirmation                      in
                             Opposition            to the         Motion           by Mr.         Trevvett,               an Affidavit                  in Opposition              to the          Motion           by
                         Ronald.            R. Staedt,             a Memorandum                        of Law         in Opposition    to the Motion                                     by Mr.         Trevvett;
                                                                                                                             Counsels'
                             and upon          consideration                    to all     exhibits            attached   to               papers  and                                   oral      argument

                         having          been         conducted             by     telephone,                 the      Court         renders           the    following            Decision:


                                          On     December                 7, 2018,             Brian        Trask         was        hired       by Petitioner               Town          of Alma             (Town)
                         as a Heavy                Equipment                Operator,                  On     January              25,     2019,         Town,        citing       Mr.        Trask's
                         "incidents"
                                                     involving            the     Town's            truck,             terminated               Mr.      Trask's          employment.                   Mr.        Trask
                             informed          the     Town           Board         that       as he believed                    he was          entitled          to a hearing              before          his

                         removal,             he did         not      accept        their        letter       of termination.                         Despite        receipt          of his        letter     of

                         termination,                 Mr.        Trask      continued              to report              to work            with       the      approval         of the           Highway
                             Superintendent.                 On       January            29,    2019,          the      Town             Supervisor              wrote      Mr.        Trash        repeating             that
                         not      only       was       he no longer                an employee,                     but       that    if he continued                    to operate             Town         equipment
                         or vehicles,                the     police        would           be noti        fied.         On       February              18, 2019,           the    Town           Supervisor
                         reiterated            to Mr.         Trask         that     he was            no      longer           an ernployee                 and     added        that       his    old      position
                         had         been      climinated                as of February                   4, 2019.


                                          On March                 29,    2019,          Respondent-International                                   Association             of Machinist                  and
                         Aerospace               Workers              Local         1580         (Union),               filed      a grievance                on Mr.        Trask's          behalf.           The
                             Court      notes        that     the effective                agreement                 between              the    Town          and       Union         was      entered            into     in
                         2017         and      was         is in effect           at the        time        Mr.        Trask         was        both     hired       and     tired.


                                          An arbitration                  was       conducted                 before            Arbitrator             Jeffery       M.     Selchick.              Both       parties




                                                                                                          2    of         4
 202007310529                                                                                                                                                                                               Index#:E2020001926
                                                                                                                                                                                                          INDEX    NO. E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                 Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                       8 of 32
                                                                           IN ludex14E20200039261926
                                                                     RECEIVED   NYSCEF: 07/31/2020
  NYSCEF   DOC.   NO.   24                                                                                                                                                               RECEIVED                NYSCEF:                     06/30/2020




                             appeared              with        counsel             and      participated                 fully.          On       February                1, 2020,          the      Arbitrator             upheld
                             Mr.      Trask's             dismissal,               ruling         that     "the       January             25,     2019         notice         to [Mr.             Trask]      informing
                                                                                                                                                                                                     parties'
                             him      that      his       employment                     had      been       terminated                  under         Section             7.01,     of the                       Agreement

                             resulted          in a termination                       that      took        place         within           the     60 calendar                day        probationary                   period              and

                             is conduct              on     the part           of the Town                  that      the         parties        have         excluded              from          the     grievance
                                                                             consideration."
                             process          and         arbitral



                                             Following                this      ruling,           Mr.      Trask          continued               to show             up     for     work.              Notwithstanding
                             the Arbitrator's                     decision,              the    Town's              Sheriff             declined             to remove              Mr.        Trask,          stating           that
                             such      enforcement                    would           require             a Court          order.           The        Town,          mindful             of possible                 liability
                             from       Mr.        Trask's           continued                 disregard            of the           Arbitrator's                  Opinion           and       Award,            filed       the
                             instant         proceeding                pursuant                to Article            75 seeking                  Court         confirmation                   of the Opinion                      and
                             Award.


                                                Respondent                    Union            challenges             the jurisdiction                       and      standing            of the          Town           to bring
                             this     Article          75 petition                 before          this     Court.             The       Court         disagrees.              Under           the       specific          tenns             of
                             the contract                 between             the     parties,            grievances                brought            on behalf             of     a union             member             are heard
                             through           the      arbitration                process,            as was         done           in this       instance.                The      award,             as Petitioner
                             points         out,      is not         "self      enforcing";                 the      failure            of a party           to comply               with         the     award            requires
                             that     it must           be imposed                  through              the judicial               system,         as has happened                           here       (CPLR             7510).

                             Thus,       this        Article          75 is not             the     beginning.                 but      rather         the     lawful         and        necessary              final       step         of
                             the agreed               upon        process.            It is entirely                appropriate                  and     required             no further                authorization
                             from       any        other       entity.


                                             The        Court         also         rejects        [tespondent's                     argument              that       the     Town             Supervisor               is not
                                                                                                  proceeding"
                             authorized               to bring           a "special                                               in accordance                    with      New          York          Town          Law.         The

                             public          interest          factors         presented                 by the          facts       o f this      case        clearly            give      him         the    authority               to

                             pursue          the      onforcement                   of the         Award            by filing            this      Article           75 proceeding.



                                             Moreover,                 the     Court           agrees        with          Petitioner's                assertion             that        by requesting                  relief          in
                             the     form       of seeking                   dismissal             of the          Arbitrator's                  award,         the       Respondent                    has placed               the
                             issue      of conñrmation                         directly           before          this      Court,          thus       waiving           any jurisdictional                           claim.            See,
                                                                                                                                                                      (2"d
                             Vilceus          v. North             River           Insurance              Company,                   150    AD2d             729            Dept.    1989).



                                             Lastly,           Respondent                   argues,          citing         CPLR            §7511            (b)(1)(iii),            that      the       Arbitrator's
                             Award           should            be vacated                because            as it did             not    address             the     substantive                merits          of Mr.            Trask's
                             claim       and        thus       the     Arbitrator                 "exceeded               his       power         or so imperfectly      executed  it that a linal
                                                                                                                                                                made..."
                             and      definite            award         upon         the       subject         matter             submitted          was not                 The Comt     rejects
                             Respondent's                    application                 of §75I           l(b)(1)(iii)              and        agrees         with         Arbitrator         Shelchick                    that        due
                                                                                                                                                                                  arbitrability."
                             to Mr.         Trask's            probationary                    status,       the      matter            lacks       "substantive                                                     The
                             Agreement                 between               the     Union          and      the      Town              makes          clear        that     arbitration                is not       an available

                             remedy           to an employee                        terminated               during            his period              of probation.                     As    Mr.        Trask          was       hired
                             on December                     7, 2018           and        fired        on January                 25,    2019,          he was             employed               less        than     60 days.

                             Accordingly,                   Mr.       Trask          was        not,      under          the      terms          of the       Agreement,                  entitled            to arbitration.
                             Since       both         parties          were         bound           by the          provisions              of the           Agreement,                  the      Arbitrator's               decision




                                                                                                               3     of         4
 202007310529                                                                                                                                                                       Index NO.
                                                                                                                                                                                  INDEX   #: E2020001926
                                                                                                                                                                                                E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
  [F
NYSCEF.ËÖ  M NO.
        DOC.      Case COUNTY
             MONROE
                 29    1:20-cv-01111-UNA
                                 CLERK  07
                                           Document
                                                2020
                                                     1-7 08 Filed
                                                              : 4 4
                                                                    08/19/20
                                                                     AB
                                                                             Page 9 of
                                                                              RECEIVED  32
                                                                                    INlrHl9xt@E202tQQ609261926
                                                                                          NYSCEF: 07/31/2020
                                                                                       /01/
   NYSCEF   DOC.   NO.   24                                                                                                                                         RECEIVED           NYSCEF:           06/30/2020




                          was         correct     in ruling             that     he was          barred         from     reaching         the merits          of the      dispute.



                                          Finally,          the   Court          notes      that,      notwithstanding                  the    lack      of timeliness            which
                          prohibited             the       Arbitrator           from      reaching             the     merits      or Mr.       Trask's       case,       the     grievance        was
                          parties         agree        that     a grievance              "will      be deemed               waived       unless         it is filed      within       seven      (7)
                          calendar          days        after     the        employee            knew      or should             have     known          of the       act or condition            on
                                                                             based."
                              which      the grievance                is                    Mr.      Trask's           employment              was      terminated          by     letter   on

                          January          29,    2019.           The        grievance           was      not        submitted         to the     Highway             Superintendent             until
                              March      29,     2019,         well        beyond        the     seven-calendar                  day    period.




                                          Accordingly,                  it is



                                          ORDERED,                    that      the    Arbitration              Opinion          and    Award           is confirmed;            it is further



                                          ORDERED,                    that      Respondent's               Motion           to Dismiss            the    Petition       is denied.




                                                                                                           ''
                          Dated:          June       30,      2020

                          Rochester,             New          York                                        fa
                                                                                                        H6n.          Ann       Mari          addeo,       JSC




                                                                                                    4 of          4
 202007310529                                                                                                                                                                       Index NO.
                                                                                                                                                                                  INDEX   #: E2020001926
                                                                                                                                                                                                E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      10 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020




           STATE             OF         NEW YORK
           CONTRACT                           GRIEVANCE                       ARBITRATION




           In the       Matter                of   the        Arbitration               between



           INTERNATIONAL                                  ASSOCIATION                             OF        MACHINISTS                                           OPINION
           AND        AEROSPACE                                 WORKERS,                    LOCAL                  LODGE              1580,

                                                                                         Union,                                                                   AND


                                                           and                                                                                                   AWARD

           TOWN              OF     ALMA,                  NY,
                                                                                         Employer.



           Grievance:                    Brian            Trask




           BEFORE:                       Jeffrey                M.     Selchick,            Esq.
                                         Arbitrator



           APPEARANCES:


                                          International                     Association                 of        Machinist
                                         And         Aerospace                      Workers,                Local           Lodae          1580
                                         Trevett                Cristo

                                          Michael                T.      Harren,           Esq.        of    Counsel



                                          Town             of     Alma
                                          Harris              Beach,          PLLC
                                          Edward                 A.      Trewett,            Esq.,           of     Counsel




                        In    accordance                             with     Article             10    ("Grievance                       Procedure")                of   the     Agreement


                                                                                                                                                                                 "Union"
           (hereinafter                  "Agreement")                         (Joint        Exhibit               1)   of     the     parties           (hereinafter                          and



           "Town"),               the          undersigned                     was         designated                       Arbitrator.                 A    hearing            was    held    on



           November                     26,        2019          in    Pittsford,           New             York,       at      which         time        Grievant          appeared          and



           was        represented                        by     Counsel              and       other          representatives.
 202007310529 MONROE COUNTY CLERK 07/31/2020 01:16 PM                                                                                                                                                 INDEX   #: E2020001926
                                                                                                                                                                                                        Index NO.   E2020001926
FILED:
                Case
NYSCEF DOC. NO. 29               1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page 11 of 32
                                                                                RECEIVED  NYSCEF: 07/31/2020




                        The      parties               were           accorded                 a full         and         fair      hearing                  including                    the        opportunity


           to   present          evidence,                    examine                 witnesses,                    and          make           arguments                          in     support               of        their



           respective             positions.                        The        parties          filed             post-hearing                        briefs,                and         the         record               was


           closed         upon         their          receipt             on    or     about              December                  23,         2019.




                                                                                                      ISSUES


                        The        parties                  were             unable            to         agree            and            stipulate                     to         the         issues                to       be



           presented             for         decision.                 The       Union's              proposed                    issues              are:



                        1.             Did            Brian             Trask               successfully                         complete                         his          probationary
                                       service?                     If so,     what          shall          be      the        remedy?



                        2.             Is      Brian            Trask           entitled             to      compensation                             for        all         hours             of     work

                                       for      the         Highway              Department                         as     certified             by         the         Superintendent

                                       of      Highways?                       If so,       what            shall         be     the          remedy?



                        3.             Has            Brian           Trask           been           locked-out                   of      his     job             in     violation                   of   the

                                       collective                    bargaining                 agreement?                               If     so,          what              shali            be        the

                                       remedy?



                        The      Town's                 proposed                 issues              are:



                        1.             Should                 the      Grievance                    be      dismissed                    because                       it was            not         timely
                                       filed          per      Section               10.08           of     the      CBA?


                        2.             Should                 the      Grievance                 be         dismissed                   because                    the         Grievant                   was

                                       discharged                                        his    probationary                        period                 and          such             dismissals
                                                                       during
                                       are        not         grievable               per      Section               7.01         of      the     CBA?


                        3.             Should                 the       Arbitrator              find          that        the          Grievance                        must             be         denied

                                       because                  the          Grievant            was              never          validly          hired                 as     an         employee

                                       by        the            Highway                  Superintendent                                due            to         the          fact            that         the

                                        Highway                     Superintendent                          lost         his      position                  by         operation                     of    law

                                       prior             to         December                    2018                when               he        purportedly                              hired              the

                                        Grievant?
 202007310529                                                                                                                                                                                                     INDEX
                                                                                                                                                                                                                     Index NO.   E2020001926
                                                                                                                                                                                                                            #: E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      12 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020
   .

                                                                                                                                                                                                                                         3



                        4.             If the         matter                is found                to        be      grievable,                     did         the        Town              Board              have
                                      just          cause             to          terminate                     the           Grievant's                        employment?                                 If     not,
                                       what          shall          the          remedy                  be?



                        5.             If    the       Grievant's                         termination                          is       not         upheld                  are         his          back          pay
                                       damages                      limited                  by          the          fact          that            his           HMEO                   position                 was
                                       eliminated                    by       the         Town                on      February                      5,     2019?



                        The          Arbitrator                recognizes                            the           relevance                        of         the      Town's                  contentions                       that



           there         are        threshold                  issues                   regarding                         arbitrability.                             Accordingly,                           he         finds       the



           following           to     be      a fair          and         accurate                    statement                         of    the         issues              to       be      decided:



                         1.            Should                the      grievance                          be        dismissed                    on         the         ground                 that      it is          not

                                       substantively                          arbitrable?



                        2.             Should                the       grievance                         be         dismissed                       on         the      ground                  that         it was
                                                                                                                                                                     parties'
                                       not      timely              filed          under             the           provisions                   of        the                                Agreement?



                        3.             If     the      grievance                        is        arbitrable,                     did         the         Town              violate              Grievant's
                                                                                                  parties'
                                       rights                under                the                                        Agreement                               when               it     considered

                                       Grievant                    terminated                        and            did       not            compensate                            him         for     working
                                       in     the      HMEO                   position?



                        4.              If     the           grievance                       is      arbitrable                   and                    the         Arbitrator                  finds             that
                                                                                                                           parties'
                                       Grievant's                     rights               under               the                                  Agreement                           were           violated,
                                       what           is an          appropriate                           remedy?



                         5.             If     Grievant                     is      entitled                   to         back               pay           damages,                           should               said

                                        damages                     be           limited             by        the           fact        that            the         Town               eliminated                     the

                                        HMEO                 position                on       February                       5,     2019?




                                                                                           CONTRACT                                 PROVISIONS

                                                               parties'
           The         Preamble                of    the                                2017-2022                          Agreement                           reads              in    pertinent                 part:



                                        This         Agreement                          is        made              and           entered                  into        by      and            between                   the

                         Town           of     Alma,            herein               referred                  to      as         the        (Employer);                          and         Local              Lodge

                         No         1580             and           District                Lodge                   No.            65,         International                            Association                           of

                         Machinist                   and        Aerospace                            Workers,                       AFL-CIO,                         herein              referred                 to      as

                         the        (Union)            ...     (Joint              Exhibit               1,     4).
 202007310529                                                                                                                                                                                                                    INDEX   #: E2020001926
                                                                                                                                                                                                                                   Index NO.   E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      13 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                                          4


                                                                                        parties'
           Article      7     ("Seniority")                         of        the                                2017-2022                            Agreement                                reads              in   pertinent                  part:



                       7.01            Employees                                 in     the              unit          covered                       by         this              Agreement                            shall           be
                       considered                        probationary                                   during               the            first         sixty             (60)           calendar                     days            of

                       employment.                                  At           any          time               during                 such                probationary                                   period,               such

                       employees                          may                    be          dismissed                             or          otherwise                           terminated                            by           the

                       Employer,                     which                    dismissal                       shall          not            be       subject                  to         the         grievance                        and

                       arbitration                  provisions                          of     this             Agreement.                            (ld.,           6).


                                                                                                                  parties'
           Article      9 ("Probation                           Period")                      of        the                                  2017-2022                            Agreement                            reads:



                       9.01            All           new                      employees                                shall                  be            subject                        to              a       maximum

                       probationary                        period                      of     sixty              (60)             calendar                       days.                   At      the             end        of        this

                       period                the          employee                                 shall               either                  be          terminated                                or          become                      a

                       permanent                      employee.                               A         permanent                            employee                        shall              be         placed              in     the
                       regular               seniority                    list        effective                   as        of      his          date            of      hire.             The                 probationary
                       period                may                be               extended                          by             mutual                        agreement                                 between                      the
                       Superintendent                                    of      Highways                        and           the           Union.                (Id.,           8).


                                                                                                                                        parties'
           Article      10       ("Grievance                              Procedure")                             of        the                                   2017-2022                               Agreement                         reads         in



           pertinent           part:



                       10.1            The           Employer                           and               the         Union                  recognize                        the             importance                         of     an

                       orderly,                     clearly                         definitive                         procedure                                for               processing                               alleged

                       grievances                        for         the              employees                             included                       in      the            unit          covered                    by         this

                       Agreement.                          The                primary                    intention                     of     this         procedure                            is    to         resolve              any
                       alleged               grievance                           at    the              lowest              possible                      level.

                       ...



                       10.8            No           grievance                          will             be       entertained,                              and           such                 grievance                     will         be

                       deemed                  waived                     unless                   it    is filed            within                  seven                  (7)      calendar                      days             after

                       the       employee                       knew                   or     should                   have                 known                 of        the          act         or        condition                 on

                       which            the         grievance                          is     based.




                       10.11           The             arbitrator                           shall               have               no          power                   of         authority                       to       add           to,
                       detract               from              or         modify                   explicitly                     or         impliedly,                      any              express                   terms                of

                       this       Agreement,                                  and           his           authority                     shall              be          limited                  to         deciding                   only
                       whether                  a      specific                       provision                        of      this            Agreement                              has             been              violated.

                       Cost            for         the          arbitrator                          services                      and               his         expenses,                             if        any,        will            be

                       shared                equally                 by          the         Employer                        and             the          Union.                   (ld.,         8-10).
 202007310529                                                                                                                                                                                                                                 Index NO.
                                                                                                                                                                                                                                            INDEX   #: E2020001926
                                                                                                                                                                                                                                                          E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      14 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                                                      5



                                                                                                  BACKGROUND                                              FACTS


                        Grievant                       was                 hired            by        the          Town                  on        December                            7,      2018                as       a     Heavy                   Motor



           Equipment                     Operator                            ("HMEO").                                 Both               parties                   agree               that            his          employment                               was



           subject            to        a         60-day                      probationary                                   period.                      At         its         January                       15,          2019               meeting,



           according                    to            the             minutes,                        the           Town                  Board                 noted                   that             the            HMEO                       position,


                                             "3rd                                            Position,"
           identified              as                       Full-Time                                                         became                      a topic                 of        Board              discussion                          with        the


                                        "pulling"
           thought            of                                       the         position                    "because                            of     the         financial                        crunch               that            will         be    felt


                                                                                                                                                                                                                        funding."
           by    the     Town                    of        Alma              by         Governor                            Cuomo                  and          the         future                towns                                                  (Town



           Exhibit       4).



                        On         January                        25,         2019,               the         Town                     Supervisor                      informed                         Grievant                   as        follows:



                        This             is           to          inform                    you             that,             per             Section                      7.01              of         the          CBA,                   your

                        employment                                    with         the           Town                  is     terminated                        effective                      immediately.                                 You
                        are         being                   terminated                            because                         of     incidents                    you              have             gotten                  into        with

                        the        Town                     truck             on        January                        8,         2019             and          January                      23,         2019.                   Per          the

                        CBA              your                    dismissal                       is     not             subject                    to        grievance                        procedure.                                (Joint

                        Exhibit                  5).



                        Grievant                           then             authored                        the         following                       January                    29,            2019             letter              to     the         Town


           Board



                                             Per             Article                    7     section                       7.01              of        the          CBA,                employees                               may               be

                        dismissed                                or        otherwise                        terminated                             by         the          employer,                          in     this          case              it

                        would                    have                 to      be        done                 by         the            Alma              Highway                         Superintendent                                      Dan

                        Ford.

                                             Per             Article                9       section                    9.01             of      the           CBA,               all        employees                            shall             be

                        subject                       to     a        maximum                          probationary                                 period                 of      60        calendar                       days.                  At

                        the         END                     of        this         period                   the             employee                         shall              either             be          terminated                           or

                        become                         a permanent                                employee.



                                             Per             Section                    75        1-b             of        the         Civil           Service                  Law,              I    am         subjected                        to

                        have                 a        hearing                      before                   any             removal                     or      otherwise                          subjected                           to     any
                        disciplinary                              penalty.
 202007310529                                                                                                                                                                                                             INDEX   #: E2020001926
                                                                                                                                                                                                                            Index NO.   E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      15 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                                   6




                                            Therefore,                          i     Brian                 Trask                   DO             NOT            accept                your              letter                 of

                          termination                     dated              January                      25,          2019.               (Joint            Exhibit            6).



                          On           January                  29,          2019,                  the          Town                  Supervisor                       authored                    a        letter,              entitled


                                           Action,"
           "Personnel                                           to         Grievant,                      with          copies                  to     the        Business                    Agent                of      Local             158



           and      the        Town's                Highway                        Supervisor.                             This          letter        read:



                          The             purpose               of     this               letter          is     to         notify            you        that          effective               January                      25,
                          2019              you       have             been                terminated                          from             your         position                 with      the           town               of

                          Alma               and         are           no            longer                 an         employee.                             Should                you          continue                         to
                          operate                  any         town                 equipment                          or      vehicles                 or        present               yourself                    at      the

                          highway                   depart             building                     we         will         have           no        other         recourse                   than           to         notify
                          law         enforcement                          of        your           activities.                      (Joint            Exhibit            7).



                          At     its        February                  5,     2019                  meeting,                   according                      to   the         minutes,                  the         Town               Board


                                                                                                                                                Reports"
           received                  "Highway                   and             Building                    Committee                                                    submitted                      by          the          Highway


           Superintendent                             which            contained                          the         following:



                          As         of     Feb.         4th,         2019,                Brian               Trask                has         successfully                     completed                          his          60

                          day             probation                period                  and         is       now            a full           time         employee                    of     the           Town               of

                          Alma              Highway                   Department.                                (Joint              Exhibit            5).



                          A      February                    18,       2019                  memo                 to         Grievant                  from         the         Town               Supervisor,                         which



           copied              the         Highway                   Superintendent,                                        notified               Grievant               that          his        position                 had         been



           eliminated                     and        reminded                        him           that          his         employment                           was         terminated                           as     of      January



           25,      2019.                  (Town           Exhibit                   9).           The           memo                  also          acknowledged                              that           it    had           come             to



           the      Town                  Board's            attention                       that         the           Highway                      Superintendent                             had                been           allowing

                                                                                                                                                                                                             allowing"
           Grievant                  to     work         after         that               date,           which                was           described                   as      "illegally                                             in      the



           letter          because                       the           "Highway                                Superintendent's                                     authority                      to          hire              and           fire


                                                                                                                                                                                                        approved."
           employees                        only         extends                     to      positions                       that         the        Town           Board                had                                                 (Id.).



           The        letter              also      stated             that               "the        Highway                        Superintendent                              has          no        legal             authority                   to
 202007310529                                                                                                                                                                                                             Index NO.
                                                                                                                                                                                                                        INDEX   #: E2020001926
                                                                                                                                                                                                                                      E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      16 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                                     7



           continue               your           employment,                               and            therefore                  the         Town             has         no       legal           obligation                       to    pay

                                                                                eliminated."
           you    after             your              job          was                                                   (ld.).             Grievant                    was           also         notified                   he          would


           "not       be          paid           for         any             time           after              January                 25,          2019,               since             you          are         not          a         Town

                                                                       date."
           employee                 as          of     that                                (ld.).



                       On               March                  22,            2019,                 the          Town                Supervisor                          forwarded                      a         letter             to        the



           Superintendent                              of      Highways                       in         the     Town,               as      follows:



                       On               February                        4,       2019,                    the           TowrE               Board                eliminated                       one             of          the

                       positions                       in     the         Highway                        Department.                          In      spite          of      this,        we       understand
                       you           are             permitting                     Brian            Trask,              who           was            a probationary                            employee                       as
                       of         the      date               the        position                   was           eliminated,                       to      be       on       Town               property                  and
                       operate                       Town               highway                     equipment.                         This            is    illegal,             and           could             subject
                       the              Town                  to        serious                     liability.                     Until         further                  notice,               you           are             not

                       authorized                            to        allow           Mr.           Trask              access                to       the        Town               Highway                  barn              or

                       any              Town                equipment.                              You          will         be      personally                        liable         if you            disregard

                       your              legal              responsibilities                              as      stated              in     this          notice.               (Joint          Exhibit                8).




                       On               April               16,         2019,                the           Town                 Supervisor                          notified                 Grievant                    in         a        hand



           delivered                letter,             as         follows:



                                           As           you             know               since               you           were           at      the          Board               meeting                 where                   it

                       was               done,               your            position                 was             eliminated                    and          your         employment                            ended

                       effective                       January                      25,        2019.                    The           Town's                   Highway                    Superintendent

                           has           been               illegally               allowing                     you          to      work             after          that           date.              As        of       now

                           that         ends.



                                           You               are         to     turn           in        all     of     your           keys            and           other           Town              property                     to

                           the      Town                Supervisor's                            office                immediately.                           With          the        sole        exception                         of

                           attendance                             at     a      Town                 Board               meeting                    you           are         not         to      be         on         Town

                           property                    at         any         time.                 If    you           need           to        be         on       Town              property                   for         any
                           business                         reason                   you              must              first          notify               the           Town                 Supervisor                           in

                           advance.                           Failure                 to       do          so         will         result             in     the          Town                 contacting                      the

                           police             authorities.                           (Joint               Exhibit             9).
 202007310529                                                                                                                                                                                                        INDEX   #: E2020001926
                                                                                                                                                                                                                       Index NO.   E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      17 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                                8



                        On           March            29,     2019,                   Union                 Representative                             Dean           Clayson,                   filed           a grievance



           on       behalf           of       Grievant,                  alleging                  that            Grievant               had               been           terminated                      in        violation                 of


                     partles'                                                                                                                                                             Statement"
           the                            Agreement.                                (Joint             Exhibit              2).          The                "Foreman's                                                           on      the


           grievance                   was          signed                    by          the         Highway                     Superintendent                                who             stated                 he        "never


           relieved"                                                                           duties"
                                   Grievant                 "from              his                                 as      a      Town             employee.                           (Id.).              His             opinion             is


                                                                                                                                                                                                                                Board."
           offered            that        Grievant             was                  "unfairly                discharged                      by        the         Town           of     Alma               Town


           (ld.).



                         By          letter        dated             April                28,          2019,             the       Town                 Supervisor                      notified                 the            Union's



           Directing                 Business                  Representative,                                        Ronald                 J.        Warner                   that        the             "grievance                         is


                                                                                                  merit."
           untimely              and          therefore                  has              no                            (Joint          Exhibit               3).          In   a June                9,    2019                letter         to



           the       Town            Supervisor,                    Union                   Representative                              Warner                    reported               on       the            mediation                     of



           various              grievances                    before                      FMCS                and        that,          as        to        the      instant              grievance,                           that       the


                                                                                                                                                                                                                       all."
           "Town             refused             to       mediate                   this          grievance,                     nor      discuss                   this        grievance                       at                    (Joint



           Exhibit            4).             The           grievance                           was            then             submitted                      to      arbitration                         by         the         Union,



           resulting               in the         instant                proceeding                          before              this     Arbitrator.




                                                                                      POSITION                           OF THE                   TOWN

                         The           Town            asserts                     that         the         grievance                   should                be      dismissed                       on        the          ground                 it


                                                                                                                                                                                                                                 parties'
           was         untimely                  filed.             It        identifies                     the        language                       in     Section                  10.08               of         the



           Agreernent                     that        requires                     that          the         filing        of     a     grievance                      "within             seven                     (7)       calendar



            days        after          the        employee                          knew               or     should               have            known                   of    the       act         or        condition                     on


                                                                                    based."
            which            the          grievance                      is                                        The          Town              observes                       that           its        termination                          of
 202007310529                                                                                                                                                                                                         INDEX   #: E2020001926
                                                                                                                                                                                                                        Index NO.   E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      18 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                              9



           Grievant                    was           by      letter           dated                January                    25,        2019,           and         that        by        at       least         January               29,

                                                                                                               knew"
           2019,               Grievant                     "unquestionably                                                         of     the         termination                      "because                      that         is   the


                                                                                                                                                                                                2019"
           date           of         the          letter         he          gave            the          Town                Board               on      February                    5,                         in      which           he



           identified                      the         January                     25,            2019             termination                         letter.                 Nevertheless,                            the        Town


           observes,                       the        grievance                      was           not          filed         until        March                                           well         after          the      seven-
                                                                                                                                                              29,        2019,



           day        period.



                           The               Town                observes                         the          Union                 may          claim             that          the           time            for       filing        the



           grievance                       did         not        start            when                 Grievant                acknowledged                               receiving                    the       January               25,


           2019            letter                 because                    the           grievance                     was             filled         out         by         Union              Steward                    Clayson.



           According                         to      the         Town,                the          language                     of       Section                 10.08           "measures                        the          time      for



           filing         a grievance                            only         by       when               fthe          employee                   knew             of      should                have          known              of   the


                                                                                                                                         based'."
           act       or        condition                    on        which            the         grievance                        is                           (Emphasis                        in     original).                It was



           Grievant's                        knowledge,                            therefore,                     the          Town               argues,                not        Clayson's                         knowledge,


           which                is     relevant.                        In     any               event,            the         Town               argues,                the       Town                 Board                meetings



           reflect             that          Clayson                    was           in     attendance                         at       the      February                  5,     2019                Board            meeting               at



           which                Grievant                     handed                   the          Board                his          letter        of         February                  5,        2019           rejecting               the



           termination                            letter         of     January                     25,         2019.                 Accordingly,                       the      Town                 puts           forth,        Union



            Steward                    Clayson                     knew               by           February                    5,        2019            of      Grievant's                       termination,                      which



           would               also           render              the        filing          of         the      grievance                     untimely.



                               Finally,               the        Town               asserts                   that,       if one               measures                    the     seven                 day          filing       period



            from          when               the           Union             Business                     Agent           Warner                   knew             of     Grievant's                    termination,                   and


                                                                                                                      "employee's"
            putting                  aside            the        fact         that          it     is     the                                              knowledge                         that        counts,               "Warner
 202007310529                                                                                                                                                                                                            Index NO.
                                                                                                                                                                                                                       INDEX   #: E2020001926
                                                                                                                                                                                                                                     E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      19 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                             10



           never          denied                      receiving                        Supervisor                          Staedt's                      January                29,         2019                letter             to       the



           Grievant,                  on         which                   he            was                copied             in,         again                 advising                 the          Grievant                       of      his


                                                                                                             2019."
           termination                    effective                 January                        25,


                        The           Town                  also           asks               that          the       grievance                          be      dismissed                    because                       the         Town


           discharged                     the         Grievant                       during               his      probationary                           period             under            Section                  7.01          of     the



           Agreement                      "and              the       matter                       is     therefore                not          grievable                    per       the          terms                  of     Section


           7.01."
                          Section                     7.01,         the              Town                notes,        establishes                             a 60-calendar                        day          probationary


           period          for            new               employees                                   during         which                    a        probationary                         employee                            can        be


                                                                                                                    Employer."                             "Employer,"
           dismissed                  "at         any             time               ...          by      the                                                                                the       Town                     notes,            is


                                                                                                           parties'                                                                                               Alma."
           defined             in     the         Preamble                           to       the                               Agreement                          as     "the          Town               of                             The



           Highway                  Superintendent,                                    the             Town         stresses,                   is       not      a     party          to     the      Agreement                          and


                                                                                            "Employer."
           cannot          be         considered                            the                                                 The             Highway                   Superintendent,                                   the         Town


           adds,         "is         nonetheless                                legally                  bound              [by]         its         terms,              including                   ...        the             provision



           permitting                 the        Town               to      terminate                        the      Grievant                      in    this        case           during           his        probationary

           period."
                                The             Town               cites             two           opinions                of      the         State             Comptroller                    as         support                 for      this



           proposition.



                         As          to     any             claim               by           the          Union            that          the             Highway                Superintendent                                    had       the



           power               under                  the           State                     Highway                      Law             to            terminate                    Highway                         Department



           employees,                      the         Town                responds                         by     stating               that            any       such             "argument                    is        contrary               to


                                                                                                                                               'Employer'
           the      express                 language                       of        the          CBA,            giving           the                                        ...     the      power                  to        terminate


                                                                                                                                   period."
           employees                        during                  their                   probationary                                                           The              Town             also              labels               any

                                                                                                                                "irrational."
           argument                  by         the      Union                  in         this         regard         as
 202007310529                                                                                                                                                                                               INDEX   #: E2020001926
                                                                                                                                                                                                              Index NO.   E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      20 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                 11



                        In       any           event,             the        Town               asserts,                   the        Comptroller's                       Opinions                  upon            which             it



           relies      "recognize                         that       [the]            Highway                     Superintendent's                                powers              under           the          Highway


           Law        can         be         lawfully             superseded                           by        a    collectively                      bargained                 agreement,                       and         that


                                                                                                                                                                                controls."
           where        a        CBA            alters           those            powers,                   the       language                     in    the       CBA


                        As         to        any       assertion                  by      the          Union               resting            on        the       language               of    Section                 9.01       of



           Agreement                      that           states            that        a      probationary                             period              "may           be      extended                   by        mutual


                                                                                                                                                                                         Union,"
           agreement                     between                   the       Superintendent                                      of    Highways                    and         the                               the      Town


           responds                 that           the          language                   cannot                 rationally                  be         construed                that        the         Town            lacks



           the       power              to     terminate                   an         employee                       during             the         60-day               probationary                       period.              As


                                                                  parties'
           the       Town           reads              the                              Agreement,                            Section                   9.01       and         Section           7.01              (creation



           of    a    60-calendar                         day           probationary                           period)                can       be         harmonized.                        Thus,              the      Town


           claims           that             Section              7.01            gives           it     "the             unfettered                    right       to    terminate                  an          employee



           during           the          60-day                 probationary                       period,                  while           Section               9.01         provides               the          Highway


           Superintendent,                                who            supervises                      probationary                           employees                       on       a    daily              basis,         the



           power            to     extend                 ...      the       probation                      of       an       employee                        whose            performance                         does          not



           obviously                    warrant                 either            termination                        or       continuation                        of     a     permanent                         employee,


                                                                                                                                                         7.01."
           beyond                the          60-day               period               set            forth          in         Section                                     (Emphasis                      in     original).



           Section                9.01,             the          Town             claims,                 therefore                     "does              not         supplant               Section                  7.01;               it


                                                                     7.01,"
           supplements                         Section



                        The              Town             also          claims             that         the          Union            did       not        establish              the         Town           Supervisor



           acted            with              any          improper                       motive                  when                Grievant                    was          dismissed                         during           his



            probationary                        period             and          his       position                   of     HMEO                eliminated.                      As      to    any           reliance                 by
 202007310529                                                                                                                                                                                                                INDEX   #: E2020001926
                                                                                                                                                                                                                               Index NO.   E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      21 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                                    12



           the       Union            on         a     text         message                          that        former                 Town              Board                 Member                       Shields                testified



           he     received                   from             Town                  Supervisor                           Staedt               on          December                          28,             2018,             the         Town


           responds                  that         the         Union                 did         not         establish                      the         "bona              fides            of        this         test            message,

                                                                                                                 value."
           thus         depriving                    it of        any         evidentiary                                                  It identifies                   the           Supervisor's                             testimony


           that       he       did         not        send              the         message                      and            observes                       that        the           text          message                      states             it



           was          sent         at      12:57                a.m.          at        a      time            when                the         Supervisor                         testified                    he        would             have



           been          sleeping.                     The          Town              also            claims                  that      the         document                        appears                      to    be         altered            to


                                                             Cell,"
           add        "Ron            Staedt                                   which                 does               not          appear               to        be      in      the          same                 font          and         font



           size       than           the      rest           of    the         message.



                           The            Town             also          asks              the          Arbitrator                     to     take             notice               of     a         court            Affidavit                from



           Shields,              sworn                to      July            15,      2019,                in        which              he         attaches                    a    "different                       version             of     the


                                                                                                                                                                                     hearing."
           text       message                     that            was         submitted                        to       the          Arbitrator                  at       the                                          (Emphasis                       in



           original).                     The          Town               notes                 that,            at       the          hearing,                     Mr.          Shields                    testified                that        the



           exhibit             introduced                     as        Union                 Exhibit               4    was            a text            he          received                   from             the         Supervisor



           on     December                           28,      2018              but,            in      his         affidavit,                   "he         swears                 that             the         different                exhibit


                                                                                                                        copy'
           attached                  to     his        affidavit                was             a      'true                             of      the           message                     that             he        received                 from


                     Staedt."
           Mr.                               The             testimony                     of        Mr.       Shields                  and            any          alleged               text          message                      from        the



           Supervisor,                      the        Town              claims,                    must            be         considered                       "wholly                  unreliable                        and       must            be


           disregarded."
                                                     Finally,             the         Town                  maintains                       that,         if the           Arbitrator                       were             to     grant         the



            Grievant                 any          damages,                          such             damages                         have            to        be        limited                to     the            11      day           period



            between                  January                      25,         2019              and            February                       5,        2019              when                  the          Town                 eliminated



            Grievant's                    position.
 202007310529                                                                                                                                                                                                       Index#:E2020001926
                                                                                                                                                                                                                  INDEX    NO. E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      22 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                            13

    .

                                                                                POSITION                           OF THE                     UNION


                       According                       to      the        Union,              the      central             question                    before                   the        Arbitrator               should                  be



           if     Grievant                 "worked                     within                 the           unit           defined                     in             the        Collective                       Bargaining


           Agreement,                 to        wit,        a full-time                  employee                     in     the        Civil           Service                   title       of     Heavy               Machine



           Equipment                  Operator"?                            The           Union               argues                   that           the             answer                to      this          question                    is


           "yes,"                                                                                                                                                                                                    later'
                          and        "[w]hile                  employees                       are          often          directed                    to         'obey               now          grieve                              it     is


                                                                                                                                                                                                 pay."
           unheard              of    that,             the          obeying                  could           be          the       basis               for            denying                                     The          Union



           avers        that         Grievant                    performed                      the         duties              assigned                         to      him          by      the        Town             of     Alma



           Superintendent                              of        Highways,                           and            noting                Its          contention                           that           the           Highway


           Superintendent                            acted           in     accordance                        with          State               law,         the            Union            argues,               "[b]ut           even



           if    the       Union                is       wrong               and              Trask                [Grievant]                      should                       not         have            followed                        the


                                                                                                                                                                                                             pay."
           superintendent's                             direction,                 he         should           not         be       forced                  to        forfeit         a year's



                        in      setting                forth         its     position,                  the         Union               claims                   that           the        Town             Board              lacked



           the      authority               to         terminate                   Grievant.                         It    argues                  that                Grievant                  was         hired             by           the



           Highway               Superintendent                                 and,                under           Article               9      of         the             Agreement,                       the         Highway


           Superintendent                            has         the        authority                  to     determine                         if a         new             employee's                       probationary


           term        should              be        extended.                      This              observation                       permits                       the        Union              to     assert              that,          "if



            Superintendent                             Ford           had          the         authority                   to      hire          Trask                   and          extend                his      probation,


            Ford       also          had         the           authority                 to     determine                       that          Trask                   had        successfully                       completed


            probation."
 202007310529                                                                                                                                                                                                     INDEX   #: E2020001926
                                                                                                                                                                                                                    Index NO.   E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      23 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                            14



                                                                                                                                            "Employer"
                               As      to     the         Town's                reliance              on          the         term                                           as         used          in     Section                    7.01



           of      the         Agreement                      and             the          60-day            probationary                              term,          the          Union          asserts                    that          the



           Town's                   position              cannot               withstand                  scrutiny.                      The       Union              maintains                   that           the         "powers


                                                                                                                                                                                   CBA"
           of      the         Highway                    Superintendent                              are         set         by        statute            not         the                        and,            in        addition,


           "the          reference                   of     the        Town                Board           as      the            employer                 in       the         CBA           does         not          affect             the


                                                                                                                                           highways."
           statutory                   authority                  of     the             superintendent                            of                                           The           Union              also             claims



           that,          to    the         extent           the         Town               had       authority                    to     act,         "that         authority                 must          be         exercised


                                                                                                                                                                                  Supervisor."
           collectively                      by     the       Town                  Board           and         not          individually                      by     the                                              Moreover,


           the       Union              argues               that         Grievant's                   termination                         was           arbitrary,                  capricious,                      and         in      bad



           faith.



                               The          Union           identifies                    Section               140          of    the         State            Highway                  Law           and            claims              that



           it    provides                   the          Highway                    Superintendent                             with         the          authority                 to    direct            the          workforce



           within              the       Superintendent's                                   Department.                             It also             identifies                 judicial            authority                    that         it



           claims               corroborates                           this         observation.                        In        the      Union's                  estimation,                   the            Town               Board



           did       not            make            any       "effort               to     ratify      the          alleged                 discharge                      of      Trask          at       its        ...     meeting

                                                            2019,"
           on        February                       5,                              and,          instead,                  "acted                in      executive                     session                  allegedly                     to



           elirninate                   his         position                  because                 of        pending                    budget                   cuts        threatened                        in         Cuomo's


                                            budget."                                  "cuts,"
            proposed                                                   The                             the            Union               claims,               did          not        occur              and              the     Town


            Highway                     budget               was              not         adjusted.                     The             Supervisor                    acknowledged                                as          much               at



           the           arbitration                     hearing,               according                    to         the        Union,                and          also           acknowledged                                 that,          in



            2019,               there             was         sufficient                    funds            in       the          Highway                     Fund             to       pay         Grievant                     for       the



            work               he       was              performing.                        The         Union                  identifies                  a        1969             decision                    of         the         State
 202007310529 MONROE COUNTY CLERK 07/31/2020 01:16 PM                                                                                                                                                                       INDEX   #: E2020001926
                                                                                                                                                                                                                              Index NO.   E2020001926
FILED:
                Case
NYSCEF DOC. NO. 29                  1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page 24 of 32
                                                                                   RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                                     15



           Comptroller                     which                  it    claims               supports                     its     position.                       The              Union                also           cites           judicial



           authority             that              it     claims                supports                     its     position,                  especially                          its         claim           that,           while           the


           Town          Board                  "must                  approve                    the         budget                  of      the          Highway                         Department                            but         once



           approved,                    the         management                               of      the           Highway                    Department                                and        the          employment                           of


                                                                                                                                                                                                          Superintendent."
           employee[s]                        in        that      department                            is entirely               vested               in        the          Highway


                        The              Union                 also           claims               that            the      Town                did         not          prove                  that       it        exercised                    the



           authority               it     claims                 because                     it    did         not         present                   any          evidence                        that          it     exercised                     its



           claimed            authority                          to          terminate                    Grievant                     during               his          probationary                                 period.                  The



           Union         asserts                        that           the       Town               exercises                         Its      authority                      by          action             of        a      5-member


                                                                                                                                                                                                                                                    3rd
           Town          Board                 and              observes                   that           the            Town               claims           that             the              elimination                      of     "the



           position           in         the            highway                 department                          was          approved                        in     ...        executive                      session                  during

                                                                                                   meeting."
           the     Town                 Board's                  January                 15                                       The              Union,              however,                         maintains                      there            is


                                                                                                                                                                      justification"
           a     falsification                           because                     the           minutes                      reflect               "no                                                       for          going                into



           executive                    session                  and           Mr.       Warboys                         should               not      have              been                   allowed                to       participate



           in    the     executive                             session                 and         to        vote          because                     he         was               not          sworn                in     as        a     Town


           Board         member                          until          February                   5.         The          Union               avers              that             it     is     "highly               likely          that        the



           issue         was              not             brought                 up          in        an         executive                    session                       and               that       the             town            simply

                                                          assertion,"
           fabricated                    this                                                particularly                        in         view            of         the              minutes                   of         the           regular



           meeting               that              did          not          reflect              more              than          a         "personnel                        issue                was               discussed                    and


                                                                                           it."
           there        was              no        resolution                     to                    Further,                 the          resolution,                      the              Union             claims,               reflects



           further        falsification                           because                     it referred                   to        a     reduced                   budget                    from         the            State           before



           the       Governor                      issued               the       budget.
 202007310529                                                                                                                                                                                                                            Index#:E2020001926
                                                                                                                                                                                                                                       INDEX    NO. E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      25 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020
   ..

                                                                                                                                                                                                                                                                   16

   .

                               The          Union             also            claims              that        the          grievance                        was           timely                filed.               According                         to     the



               Union,            on      January                     29,        2019              Grievant                     was            informed                    that             he        had             been              terminated



               but       the        notice              did          not         set         forth            any          basis               for          the         action.                      Moreover,                          the            Union



               notes           that         the         date             mentioned                       in       the          termination                         -                                                 2018              -        set         forth
                                                                                                                                                                         January                       25,


               the       wrong              year.              While                the           Town                 cites           a     January                    25,             2019                letter           in        the            notice,



               according                    to     the          Union,                   that          notice                  or      letter               was           never                 delivered                         to        Grievant.



               Grievant,                 the         Union                    further                observes,                       filed            an          immediate                           response                             by         setting


               forth       his        right        to     a     hearing                     under             the         Civil            Service                 Law              as         seen            in      his        January                         29,


               2019            letter.            The           Union                  contends                     that            this           letter          "satisfies                       the        requirement                                  for         a


                                 grievance,"
               written                                               and           Grievant,                   in       fact,          "pursued                     his           grievance                       with            the           Highway

               Superintendent,"
                                                               who              "continued                        to      employ                    Trask              and              every               two           weeks                  certified


                                                                                                                                                                                                                                           payment."
               that       Trask             had           worked                   for       the         Highway                       Department                                 and          is     entitled                to



               This        permits                  the         Union                  to       conclude                        that          Grievant                       "won               his          grievance,                           but             the


                                                                                                            decision,"                                                            stonewalled."
               Town            refused              to        implement                         the                                         but       "simply



                               According                       to         the       Union,                  the         Town                 has            acknowledged                                     that          Grievant                         "was



               employed                     by     the         Highway                       Department                             and            it was              not         until            April           [of      2019]                that            the


           '
               Town              informed                      him              that            he          could               not           continue                        as           a         Highway                        Department


               employee,"
                                                 when               it    delivered                    to         him          an          April            16,        2019                letter.                The             Town                 claims



               that       the         April         16,         2019                letter            "was              apparently                          sent             in     response                         to      the            grievance


                                                                                                                       2019,"
               filed       by         the         Union                  on      March                 29,                                  on        which                  the           Highway                        Superintendent


                                                                                                                                                        form."
               "restated                 step           one               answer                on          the         grievance                                                  The              Union                 argues                  that            the



               Town             "can             hardly                  sustain              a       claim              that          a      grievance                            filed            two         weeks                      before                  the
 202007310529                                                                                                                                                                                                        Index NO.
                                                                                                                                                                                                                   INDEX   #: E2020001926
                                                                                                                                                                                                                                 E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      26 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                           17


                                                                              untimely,"
           Town's             final         answer                was                                         and         "[i]n        any        event,               [the]             timeliness                  claim             was

                                                                                                                                                                                                2019."
           waived             by       the        Town              during             the          medication                          held          on         June               19,                                  Thus,           the



           Union         observes                        that      the         report              of     the            mediation                    activities                accurately                         stated              that



           the      Town              refused               to     mediate                   and          did          not         object             to     the         Union's                  statement                       that         it



           would         proceed                    to     arbitration.



                         In     addition,                  the      Union              argues                   that         the        Arbitrator                    "may               not      credit            any          action


                                                                                                              faith."
           the      Town              Board              [has]          taken           in     bad                                 It asserts                   that          the         Town              Board              cannot



           act      in   a     manner                    that      is     arbitrary,                    capricious,                      or     discriminatory,                                and,          in     the          instant



           case,          Grievant                       "was            denied                a         fair          opportunity                         to         prove                himself                  during               his


                                              term."                                                                                                            faith"
           probationary                                           The           Union              puts           forth            that         "bad                            occurred                     by          the       Town

                                                                                                                                                                                           message"
           Board,             especially                    as      seen              in     the          "December                            28,         2018           text                                             from          the


                                                                                                                                                                 Board,"
           Town          Supervisor                       "to     the         other          members                         of    the        Town                                        which             "establishes                       a



           prima         facie               case          that         the         treatment                       of       Trask              challenged                          in     this          arbitration                   was

                                                                                                                                          opponent."
           motivated                   by      the         desire             to      injure              a      political                                                     Once               this       showing                     has



           been          made,                according                    to       the        Union,                     the         burden                then           shifted                 to       the           Town             "to



           establish                  that          a       legitimate                     performance                              failure                was           the             sole            reason                for       the


           action."




                         As           to      two           driving                incidents                    referenced                           by         the       Town                   when               it     informed



           Grievant                that        he        was       terminated,                          the       Union                responds                   that         the          Town             Board               did       not



           investigate                      the          two        incidents.                           As          to         the           alleged                 basis                for        the          abolition                   of



           Grievant's                   position,                 the         Union            underscores                               that         "the            State              aid       cuts           proposed                     in


                                                                                              occurred"
           the        Governor's                     budget,               never                                                and,          further,                there              was        "no           investigation
 202007310529 MONROE COUNTY CLERK 07/31/2020 01:16 PM                                                                                                                                                               Index NO.
                                                                                                                                                                                                                  INDEX   #: E2020001926
                                                                                                                                                                                                                                E2020001926
FILED:
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      27 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                          18



           of      the          effect         of        those              proposed                       aid          cuts          or     any          relation                to         those            cuts          and        the


                                                                                                                                                                                                  Department."
           personnel                     costs           with         respect                 to     the         third          position             in the              Highway


                            The           Union               also          claims                 that          the         Town           "improperly                          locked               Trask           [Grievant]

                                                                                                                                            Agreement."
           out       in         violation                of     the         Collective                      Bargaining                                                                 As       for       a    remedy,                  the


                                                                                                                                                                                        "effective."
           Union            clairns              that          the      Award                 must               provide              a     remedy                  that         is                                    In     setting


           forth          its      position,                  and       incorporating                             its        lock-out           arguments,                             the      Union            argues                that


           the      Town                 should               pay       Grievant                     an       additional                    day's             pay          for        every           day       that         he        was


           locked               out.




                                                                                                                   OPINION


                            Because                      it goes            to         the     heart              of     the       Arbitrator's                     jurisdiction,                      he      will        treat       first



           the      threshold                     question                   of        whether                   the          grievance                  is    substantively                           arbitrable.                     The


                                                                                                                                                                           parties'                                                -
           Arbitrator                    notes             that        his         jurisdiction                         is      limited            by         the                               Agreement                               any


           topic            about              which                  the          parties                  have                not        agreed                   to       arbitrate                  is       beyond                  the



           Arbitrator's                     jurisdiction.                         In     Article             10,         Section              10.2            of    their             Agreement,                      the      parties



           define               grievance                     as      "any             claimed                violation,                   misapplication                              or     misinterpretation                               of


                                                                                                                 Agreement."
           an        expressed                           provision                      of     this                                                       In         Section                   10.11,                the       parties



            underscore                       the          Arbitrator's                       Iack           of     jurisdiction                     to        consider                      matters            outside                 their



           Agreement                         by          stating             that            the          Arbitrator                  has       "no            power                  of      authority                to     add         to,


            detract                from             or         modify                   explicitly                 or          impliedly,                     any           expressed                         terms            of        this



            Agreement,                        and             his     authority                    shall           be         limited          to        deciding                     only      whether                    a specific


                                                                                                                             violated."
            provision                  of    this         Agreement                          has          been
 202007310529                                                                                                                                                                                                         INDEX   #: E2020001926
                                                                                                                                                                                                                        Index NO.   E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      28 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                           19

    .

                         The             Arbitrator                   notes             that       the         grievance                 that         was          filed           does           not             iderttify             any

                                                                                    parties'
           specific               provision                     of      the                                  Agreement                   that         was              allegedly                  violated                      by       the


                                                                                                         Complaint,"
           Town.               It does,                  under              "Nature               of                                     state         that            there             was           an             "unfair           and


                            discharge"
           unjust                                               of    the         Grievant.                    The         parties          do        have              a    just         cause                   provision                    in



           Article          7,        Section                 7.03(b).                  The           just         cause         requirement,                           however,                      does               not       apply


           to      probationary                             employees.                          No           interpretation                     of    the          Agreement                               is         required             to



           reach            this          conclusion                          given             the          clear           language                 in        Section                  7.01:                  "at       any           time



           during                such                  probationary                            period,                such            [probationary]                               employees                              may              be



           dismissed                     or       otherwise                      terminated                    by      the      Employer,                    which                dismissal                       shall           not      be


                                                                                                                                                                                Agreement."
           subject               to      the           grievance                   and          arbitration                   provisions                   of      this                                                       Further,


                                                                                                                                                                 "Employer"
           the       parties              in       the       Preamble                     to     their         Agreement                   define                                                     as         the      "Town                of


           Alma."




                            Based                 on        the       foregoing                   observations,                          which             set         forth         the         only                 reasonable



            reading              of      the           contract               language,                      the      Arbitrator            finds               that        the      parties                     have           agreed



            that      it is        the         Town,                 and         not      the         Highway                 Superintendent,                               that         has           the            authority                to



            terminate                   an         employee                      during            the         60-day              probationary                         period.                  if        a     probationary


            employee                     is       terminated                      during           the         60-calendar                      day         period,                the       parties                    agree            that



            the       decision                    to     terminate                     the       employment                         is    beyond                  the          Arbitrator's                           jurisdiction.



            The        language                        of     Article              9    ("Probation                     Period")                as     set         forth            in     Section                       9.01           does



            not       require                 a     different                 understanding.                                 There,         the            parties                identify                 the           "sixty          (60)

                                      days"
            calendar                                     that         constitutes                     the          probation             period.                 They              recognize                          that,       "at     the


                                                  period,"
            end        of        this                                      the         probationary                        employee                   "shall                either             be              terminated                      or
 202007310529                                                                                                                                                                                                              Index NO.
                                                                                                                                                                                                                         INDEX   #: E2020001926
                                                                                                                                                                                                                                       E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      29 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                               20


                                                                         employee."
           become              a     permanent                                                                This             language                      can          be       paired             with         the         language



           of     Section             7.01,             to        reach               the         conclusion                            that          it    is    the           Town            ("Employer")                          that       is



           the      body           that         can          terminate                      an        employee                          during              the         probationary                          period.                Should



           the       Town            not         terminate                      an         employee                          by         the      end             of       the       probationary                         period,              the



           parties           go      on         to     state             in     Section                 9.01             that           the          period            "may              be     extended                   by        mutual


                                                                                                                                                                                              Union."
           agreement                      between                      the      Superintendent                                     of     Highway                     and          the



                           Accordingly,                           in     the         instant                case,              had             the         Town              not      terminated                        Grievant               as



           a probationary                            employee,                       which               is    to        say            that         Grievant                   would            have             made              it to     the



           end        of     the           60         calendar                       day          probationary                                 period,                the          Highway                    Superintendent



           would           then           have              had          the         power,                 provided                      he         had         the         Union's                 consent,                  to    extend



           the        probationary                           period.                   The               Highway                         Superintendent's                                     ability             to     extend               the



            probationary                        period,                      based               on         the              only             reasonable                           reading               of        Section                   9.01



           ava!!ab!e,                 comes                       into          play              only              if       the          Town                   itself            has          not           terminated                       the



            probationary                        employee                        during                the          probationary                             period.                 Section                  9.01,         or        for     that


                                                                                                  parties'
            matter,           any          other              part             of     the                                     Agreement,                              cannot               be        read          as      a        grant           of



            power             to          the          Highway                        Superintendent's                                           to          determine                        that            a        probationary


            employee                 during                 the         60-calendar                           day            probation                      period              should            not         be        terminated.



                           The        Arbitrator                       finds,          therefore,                        that           the          January                 25,         2019           notice            to        Grievant



            informing                him             that          his         employment                                had            been               terminated                      under              Section                 7.01          of


                      parties'
            the                             Agreement                               resulted                  in         a     termination                            that         took          place             within             the       60



            calendar               day           probationary                           period                and             is    conduct                      on       the       part        of      the        Town              that      the



            parties          have           excluded                          from          the        grievance                         process                   and          arbitral             consideration.                            For
 202007310529 MONROE COUNTY CLERK 07/31/2020 01:16 PM                                                                                                                                                                      INDEX   #: E2020001926
                                                                                                                                                                                                                             Index NO.   E2020001926
FILED:
                Case
NYSCEF DOC. NO. 29                 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page 30 of 32
                                                                                  RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                                                                  21



           that        reason,              the         Arbitrator                       is       constrained                           to         conclude                      that            the            grievance                 lacks



           substantive                   arbitrability.



                         In      reaching                 the         conclusion                           in        the      preceding                              paragraph,                           the       Arbitrator                  has



           taken         into      account                   all     arguments                            raised             by     the             Union.                    Initially,               he        would            note          that



           the       rationale                  set       forth             in         support                   of         the          conclusion                             that            the             grievance                     lacks



           substantive                    arbitrability                     is     not            based               on      the             Town's                    decision                     to         abolish            the         Civil



           Service              position              that          Grievant                      held.              Further,                     the        Arbitrator                    notes                that       the      Union's



           contentions                    are         largely              predicated                        on        an         interpretation                               of      the           Highway                  Law.              The

                                                                                                                                   parties'
           Highway                Law,           however,                    is        not         part         of     the                                    Agreement.                               It may              well         be,      the



           Arbitrator               observes,                       that           there              are             forums                      that          would                  entertain                       a   legal              claim



           raised         by      the        Union                 and/or               Grievant                     that         the         abolition                   of        the         Civil           Service             position



           Grievant               occupied                    violated                   the         Civil            Service                      Law            or      that            the          Highway                    Law           was


           violated.                 Moreover,                        the              Arbitrator                     observes                           that           the          Union's                      contention                    that



           Grievant                 was               treated                     in          a       manner                       that                  was              arbitrary,                            capricious,                      and



           discriminatory,                        also             might               be      a     claim             that         could                    be        appropriately                              brought               forth          in



           other         forums.                      The          Arbitrator's                       conclusion                             on          substantive                             arbitrability                     is     based


                                                                                                                                                                                             parties'
           solely         on      the        limitations                    on          his       jurisdiction                     as             set        forth        in        the                                Agreement.



                         The              Arbitrator                   would                       note,               even                  if         he           found                 the              grievance                     to          be



           substantively                        arbitrable,                      the          grievance                      was             untimely                    filed.                 In        Article           10,         Section



            10.09         ("Procedure"),                             the          parties                 detail             the         steps                  in      the          grievance                         process.                  The

                                                                                                                                                                                          Highways."
           first       step         is      "Formal                   Presentation                              to          Superintendent                                      of                                                Thus,           the



            grievance                is     "initiated                by         written              submission                             to         the          Superintendent                                 of     Highways                    in
 202007310529 MONROE COUNTY CLERK 07/31/2020 01:16 PM                                                                                                                                   INDEX   #: E2020001926
                                                                                                                                                                                          Index NO.   E2020001926
FILED:
                Case
NYSCEF DOC. NO. 29                1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page 31 of 32
                                                                                 RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                                            22


                                                                      statement."
           the     form          of       a     signed                                               In     Section                10.08,              the       parties           agree           that          a



           grievance              "will         be    deemed                waived             unless                it is filed         within           seven        (7)        calendar              days



           after     the        employee                   knew           or     should            have              known          of        the      act    or     condition               on     which


                                                     based."
           the     grievance                  is                           The          record            shows            that          the         grievance              (Joint         Exhibit             2)


           was      not        submitted                to     the       Highway              Superintendent                             at     Step         1 until        March          29,      2019.



           The      grievance                   was          filed,       therefore,                well         beyond              the            seven-calendar                     day        period.



           The      January                   29,      2019             letter         or    notice             that        Grievant                   provided             the        Alma             Town


           Board          protesting                 his      termination                   cannot              be     considered                     a   grievance                given          the     fact



           that    it was          not        a written                submission                  to     the        Highway                  Superintendent                      as    required               at



           Step        1 of      the      grievance's                     process.



                          In    view          of     the         Arbitrator's                arbitrability                 determinations,                          any          assessment                    of



           the     merits         of      the        grievance                 would         be         beyond            his      jurisdiction.



                        Accordingly,                       and         based         on      the        foregoing,                 i find           and      make          the     following:
 202007310529                                                                                                                                                  INDEX   #: E2020001926
                                                                                                                                                                 Index NO.   E2020001926
FILED:        MONROE COUNTY CLERK 07/31/2020 01:16 PM
                Case 1:20-cv-01111-UNA Document 1-7 Filed 08/19/20 Page
NYSCEF DOC. NO. 29                                                      32 of 32
                                                                    RECEIVED  NYSCEF: 07/31/2020

                                                                                                                                                                                23



                                                                                                 AWARD

                          The     instant           grievance                    is   not    substantively           arbitrable,           nor   was       it timely        filed,

                                                                                                       parties'
           in   accordance                  with        the     provisions                  of   the                Agreement.



                          The     instant           grievance                    is   dismissed.



           STATE            OF NEW                 YORK              )
           COUNTY               OF ALBANY                                ) ss:


                           I,   Jeffrey            M.     Selchick,                   do    hereby       affirm     upon       my     oath       as    Arbitrator       that              I

           am       the     individual              described                     herein         and    who       executed          this     Instrument,            which            is

           my    Award.



           Dated:           February               1,    2020

                            Albany,            New            York




                                                                                                       JEFFREY          k     SELCHICK,                ESQ.
                                                                                                                     ARBITRATOR
